                Case 2:21-cv-00501-DAK Document 33 Filed 08/23/21 PageID.354 Page 1 of 4
                                                                                                       CLOSED,JURY
                                            U.S. District Court
                                District of South Carolina (Charleston)
                          CIVIL DOCKET FOR CASE #: 2:21−cv−00789−DCN

Fitzhenry v. Vivint Inc et al                                            Date Filed: 03/19/2021
Assigned to: Honorable David C Norton                                    Date Terminated: 08/20/2021
Cause: 47:227 Restrictions of Use of Telephone Equipment                 Jury Demand: Plaintiff
                                                                         Nature of Suit: 485 Telephone Consumer
                                                                         Protection Act (TCPA)
                                                                         Jurisdiction: Federal Question
Plaintiff
Mark Fitzhenry                                             represented by Anthony Ilo Paronich
individually and on behalf of a class of all                              Paronich Law PC
persons and entities similarly situated                                   350 Lincoln Street
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V.
Defendant
Vivint Inc                                                 represented by Carmen Harper Thomas
                                                                          Nelson Mullins Riley and Scarborough LLP
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              Case 2:21-cv-00501-DAK Document 33 Filed 08/23/21 PageID.355 Page 2 of 4
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Defendant
DSI Distributing Inc
TERMINATED: 05/13/2021
doing business as
DSI Systems
TERMINATED: 05/13/2021

Defendant
John Doe Corporation

Defendant
RS&I, Inc.


 Date Filed     #      Docket Text

 03/19/2021     Ï1     COMPLAINT against All Defendants ( Filing fee $ 402 receipt number 0420−9719578.), filed by
                       Mark Fitzhenry. Service due by 6/17/2021(jbry, ) (Entered: 03/19/2021)
             Case 2:21-cv-00501-DAK Document 33 Filed 08/23/21 PageID.356 Page 3 of 4
03/19/2021     Ï2    Local Rule 26.01 Answers to Interrogatories by Mark Fitzhenry.(jbry, ) (Entered: 03/19/2021)

03/19/2021     Ï3    Summons Issued as to DSI Distributing Inc, Vivint Inc. (jbry, ) (Entered: 03/19/2021)

03/22/2021     Ï5    SUMMONS Returned Executed by Mark Fitzhenry. DSI Distributing Inc served on 3/22/2021,
                     answer due 4/12/2021. (Attachments: # 1 Affidavit DSI)(Maxfield, David) (Entered: 03/22/2021)

03/23/2021     Ï6    SUMMONS Returned Executed by Mark Fitzhenry. Vivint Inc served on 3/22/2021, answer due
                     4/12/2021. (Attachments: # 1 Affidavit Vivint, Inc.)(Maxfield, David) (Entered: 03/23/2021)

05/11/2021     Ï7    MOTION for Extension of Time to Respond to Complaint by Vivint Inc. Response to Motion due
                     by 5/25/2021. Add an additional 3 days only if served by mail or otherwise allowed under Fed. R.
                     Civ. P. 6 or Fed. R. Crim. P. 45. No proposed order.(Devlin, Chadwick) (Entered: 05/11/2021)

05/12/2021     Ï8    Amended MOTION for Extension of Time to Respond to Complaint by Vivint Inc. Response to
                     Motion due by 5/26/2021. Add an additional 3 days only if served by mail or otherwise allowed
                     under Fed. R. Civ. P. 6 or Fed. R. Crim. P. 45. No proposed order.(Devlin, Chadwick) (Entered:
                     05/12/2021)

05/12/2021     Ï9    ORDER granting 8 Motion for Extension of Time. Defendant Vivint, Inc. shall have until
                     June 11, 2021 to answer or otherwise plead to plaintiff's complaint. Signed by Honorable
                     David C Norton on 5/12/2021.(jbry, ) (Entered: 05/12/2021)

05/13/2021    Ï 11   NOTICE of Voluntary Dismissal by Mark Fitzhenry as to DSI Distributing, Inc., Without Prejudice
                     (Maxfield, David) (Entered: 05/13/2021)

06/11/2021    Ï 14   MOTION to Dismiss Or In The Alternative, To Stay Or Transfer This Case by Vivint Inc.
                     Response to Motion due by 6/25/2021. Add an additional 3 days only if served by mail or
                     otherwise allowed under Fed. R. Civ. P. 6 or Fed. R. Crim. P. 45. (Attachments: # 1 Exhibit
                     1−Perrong Docket Report, # 2 Exhibit 2−Perrong Second Amended Complaint, # 3 Exhibit
                     3−Perrong Third Amended Scheduling Order)No proposed order.(Thomas, Carmen) (Entered:
                     06/11/2021)

06/11/2021    Ï 15   MOTION to Stay by Vivint Inc. Response to Motion due by 6/25/2021. Add an additional 3 days
                     only if served by mail or otherwise allowed under Fed. R. Civ. P. 6 or Fed. R. Crim. P. 45. No
                     proposed order.(Thomas, Carmen) (Entered: 06/11/2021)

06/22/2021    Ï 16   MOTION to Appear Pro Hac Vice by Melanie J. Vartabedian ( Filing fee $ 350 receipt number
                     0420−9918869) by Vivint Inc. Response to Motion due by 7/6/2021. Add an additional 3 days only
                     if served by mail or otherwise allowed under Fed. R. Civ. P. 6 or Fed. R. Crim. P. 45.
                     (Attachments: # 1 Supporting Documents Application/Affidavit for Pro Hac Vice
                     Admission−Vartabedian)Proposed order is being emailed to chambers with copy to opposing
                     counsel.(Devlin, Chadwick) (Entered: 06/22/2021)

06/23/2021    Ï 17   ORDER granting 16 Motion by Melanie J. Vartabedian to Appear Pro Hac Vice. Signed by
                     Honorable David C Norton on 6/23/2021.(jbry, ) (Entered: 06/23/2021)

06/24/2021    Ï 18   AMENDED COMPLAINT against John Doe Corporation, Vivint Inc, RS&I, Inc., filed by Mark
                     Fitzhenry. Service due by 9/22/2021 (Maxfield, David) Modified on 7/23/2021 to reference
                     Additional Attachments 29 (rshu, ). (Entered: 06/24/2021)

06/25/2021    Ï 19   MOTION to Appear Pro Hac Vice by Anthony I. Paronich ( Filing fee $ 350 receipt number
                     0420−9926278) by Mark Fitzhenry. Response to Motion due by 7/9/2021. Add an additional 3 days
                     only if served by mail or otherwise allowed under Fed. R. Civ. P. 6 or Fed. R. Crim. P. 45.
                     (Attachments: # 1 Affidavit Anthony Ilo Paronich, # 2 Exhibit Certificate of Good Standing,
                     Paronich, # 3 Proposed Order)Proposed order is being emailed to chambers with copy to opposing
                     counsel.(Maxfield, David) (Entered: 06/25/2021)
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06/28/2021    Ï 20   ORDER granting 19 Motion by Anthony I. Paronich to Appear Pro Hac Vice. Signed by
                     Honorable David C Norton on 6/28/2021.(jbry, ) (Entered: 06/28/2021)

06/30/2021    Ï 21   MOTION to Appear Pro Hac Vice by Jenny N. Perkins ( Filing fee $ 350 receipt number
                     0420−9934206) by Vivint Inc. Response to Motion due by 7/14/2021. Add an additional 3 days
                     only if served by mail or otherwise allowed under Fed. R. Civ. P. 6 or Fed. R. Crim. P. 45.
                     (Attachments: # 1 Exhibit A−Application and Affidavit, # 2 Exhibit B−Proposed Order for Pro Hac
                     Vice Admission)Proposed order is being emailed to chambers with copy to opposing
                     counsel.(Devlin, Chadwick) (Entered: 06/30/2021)

07/01/2021    Ï 22   ORDER granting 21 Motion by Jenny N. Perkins to Appear Pro Hac Vice. Signed by
                     Honorable David C Norton on 7/1/2021.(jbry, ) (Entered: 07/01/2021)

07/07/2021    Ï 23   MOTION to Dismiss the First Amended Complaint, or in the Alternative, to Stay or Transfer this
                     Case by Vivint Inc. Response to Motion due by 7/21/2021. Add an additional 3 days only if served
                     by mail or otherwise allowed under Fed. R. Civ. P. 6 or Fed. R. Crim. P. 45. (Attachments: # 1
                     Exhibit 1 −− Redline Comparison of Original Complaint and First Amended Complaint, # 2
                     Exhibit 2 −− Perrong Docket Report, # 3 Exhibit 3 −− Perrong Second Amended Complaint, # 4
                     Exhibit 4 −− Perrong Fourth Amended Scheduling Order, # 5 Exhibit 5 −− Perrong − Cunningham
                     Deposition Transcript Excerpt)No proposed order.(Devlin, Chadwick) (Entered: 07/07/2021)

07/07/2021    Ï 24   MOTION to Stay the Proceeding by Vivint Inc. Response to Motion due by 7/21/2021. Add an
                     additional 3 days only if served by mail or otherwise allowed under Fed. R. Civ. P. 6 or Fed. R.
                     Crim. P. 45. No proposed order.(Devlin, Chadwick) (Entered: 07/07/2021)

07/16/2021    Ï 26   NOTICE of Hearing: Telephone Conference re: 23 Motion to Dismiss and 24 Motion to Stay set
                     for 8/19/2021 11:00 AM before Honorable David C Norton. Call−in instructions will be distributed
                     at a later date. (hcor, ) (Entered: 07/16/2021)

07/21/2021    Ï 27   RESPONSE in Opposition re 23 MOTION to Dismiss the First Amended Complaint, or in the
                     Alternative, to Stay or Transfer this Case Response filed by Mark Fitzhenry.Reply to Response to
                     Motion due by 7/28/2021 Add an additional 3 days only if served by mail or otherwise allowed
                     under Fed. R. Civ. P. 6. (Attachments: # 1 Exhibit 1. Vivints Supplemental Response to
                     Interrogatory No. 2, # 2 Exhibit 2. Declaration of Anthony Paronich, # 3 Exhibit 3. DOJ Chart of
                     National Telecommunications Call Detail Retention Policies)(Maxfield, David) (Entered:
                     07/21/2021)

07/21/2021    Ï 28   RESPONSE in Opposition re 24 MOTION to Stay the Proceeding Response filed by Mark
                     Fitzhenry.Reply to Response to Motion due by 7/28/2021 Add an additional 3 days only if served
                     by mail or otherwise allowed under Fed. R. Civ. P. 6. (Maxfield, David) (Entered: 07/21/2021)

07/21/2021    Ï 29   Additional Attachments to Main Document 18 Amended Complaint. First attachment description:
                     Summons, RS&I, Inc. . (Maxfield, David) (Entered: 07/21/2021)

07/28/2021    Ï 30   REPLY to Response to Motion re 23 MOTION to Dismiss the First Amended Complaint, or in the
                     Alternative, to Stay or Transfer this Case Response filed by Vivint Inc. (Attachments: # 1 Exhibit
                     Perrong docket, # 2 Exhibit Declaration of Melanie Vartabedian)(Thomas, Carmen) (Entered:
                     07/28/2021)

08/19/2021    Ï 31   Minute Entry. Proceedings held before Honorable David C Norton: Motion/Telephone
                     Hearing held on 8/19/2021 re 24 MOTION to Stay the Proceeding filed by Vivint Inc, 23
                     MOTION to Dismiss the First Amended Complaint, or in the Alternative, to Stay or Transfer
                     this Case filed by Vivint Inc. All parties represented on the call. The Court will issue an order.
                     Court Reporter Lisa Smith. (cmur, ) (Entered: 08/19/2021)

08/20/2021    Ï 32   ORDER granting 23 Motion to transfer. Case is transferred to the District of Utah. Signed by
                     Honorable David C Norton on 8/20/2021.(cmur, ) (Entered: 08/20/2021)
